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                             UNITED STATES BANKRUPTCY COURT
                               NORTHERN DISTRICT OF TEXAS
                                   FORT WORTH DIVISION

In re:                                                         Case No. 12-44939-RFN
         DEANNA DAWN ROA

                     Debtor(s)


          CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

        Pam Bassel, chapter 13 trustee, submits the following Final Report and Account of the
administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as follows:


         1) The case was filed on 09/01/2012.

         2) The plan was confirmed on 01/07/2013.

       3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
08/18/2014, 08/15/2016, 10/02/2017.

       4) The trustee filed action to remedy default by the debtor in performance under the plan on
03/03/2016.

         5) The case was completed on 12/29/2017.

         6) Number of months from filing to last payment: 64.

         7) Number of months case was pending: 72.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: $122,023.00.

         10) Amount of unsecured claims discharged without payment: $2,253.12.

         11) All checks distributed by the trustee relating to this case have cleared the bank .



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 Receipts:

            Total paid by or on behalf of the debtor              $42,196.00
            Less amount refunded to debtor                             $5.86

 NET RECEIPTS:                                                                                    $42,190.14


Expenses of Administration:

    Attorney’s Fees Paid Through the Plan                                    $3,546.00
    Court Costs                                                                  $0.00
    Trustee Expenses & Compensation                                          $3,484.47
    Other                                                                       $55.40
TOTAL EXPENSES OF ADMINISTRATION:                                                                   $7,085.87

Attorney fees paid and disclosed by debtor:                      $254.00


 Scheduled Creditors:
 Creditor                                          Claim         Claim           Claim      Principal     Int.
 Name                                  Class     Scheduled      Asserted        Allowed       Paid        Paid
 AMERICAN INFOSOURCE LP            Unsecured            NA          141.58         141.58        33.27       0.00
 AMERICAN INFOSOURCE LP            Unsecured            NA          564.43         564.43       132.64       0.00
 AT &T SERVICES INC                Secured             0.00            NA             NA          0.00       0.00
 CAPIT AL RECOVERY GROUP LLC       Unsecured            NA        1,029.56       1,029.56       241.95       0.00
 CREDIT SYST EMS INT L INC         Unsecured         528.00            NA             NA          0.00       0.00
 EOS CCA                           Unsecured          87.00            NA             NA          0.00       0.00
 FRANKLIN COLLECT ION SV           Unsecured          95.00            NA             NA          0.00       0.00
 INT ERNAL REVENUE SERVICE         Unsecured            NA            0.00           0.00         0.00       0.00
 INT ERNAL REVENUE SERVICE         Priority          180.00         190.69         190.69       190.69       0.00
 INT ERNAL REVENUE SERVICE         Unsecured            NA          139.68         139.68         0.00       0.00
 JEFFERSON CAPIT AL SYST EMS LLC   Unsecured            NA           99.00          99.00        23.27       0.00
 PLS LOAN ST ORE                   Secured           600.00         600.00         600.00         0.00       0.00
 PREST ON RIDGE PT RS INVEST MEN   Secured              NA       10,620.17      10,620.17    10,620.17       0.00
 PREST ON RIDGE PT RS INVEST MEN   Secured              NA       10,331.44      10,331.44    10,331.44       0.00
 PREST ON RIDGE PT RS INVEST MEN   Secured       104,176.00     106,729.82     106,729.82         0.00       0.00
 PREST ON RIDGE PT RS INVEST MEN   Secured         8,497.00      10,534.09      10,534.09    10,534.09   2,996.75
 RON WRIGHT , T ARRANT COUNT Y     Secured              NA        1,273.69       1,273.69         0.00       0.00
 T ARRANT COUNT Y T AX COLLECT     Secured         2,224.99       1,178.29       1,178.29         0.00       0.00
 T -MOBILE                         Secured             0.00            NA             NA          0.00       0.00




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 Summary of Disbursements to Creditors:
                                                                 Claim          Principal           Interest
                                                              Allowed               Paid               Paid
 Secured Payments:
       Mortgage Ongoing                                        $0.00              $0.00              $0.00
       Mortgage Arrearage                                 $31,485.70         $31,485.70          $2,996.75
       Debt Secured by Vehicle                               $600.00              $0.00              $0.00
       All Other Secured                                 $109,181.80              $0.00              $0.00
 TOTAL SECURED:                                          $141,267.50         $31,485.70          $2,996.75

 Priority Unsecured Payments:
         Domestic Support Arrearage                             $0.00             $0.00               $0.00
         Domestic Support Ongoing                               $0.00             $0.00               $0.00
         All Other Priority                                   $190.69           $190.69               $0.00
 TOTAL PRIORITY:                                              $190.69           $190.69               $0.00

 GENERAL UNSECURED PAYMENTS:                               $1,974.25            $431.13               $0.00

Disbursements:

         Expenses of Administration                              $7,085.87
         Disbursements to Creditors                             $35,104.27

TOTAL DISBURSEMENTS :                                                                        $42,190.14


        12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009, the
estate has been fully administered, the foregoing summary is true and complete, and all administrative
matters for which the trustee is responsible have been completed. The trustee requests a final decree be
entered that discharges the trustee and grants such other relief as may be just and proper.

Dated: August 28, 2018
                                               By: /s/ Pam Bassel
                                                                          Trustee
STATEMENT: This Unified Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
exemption 5 C.F.R. § 1320.4(a)(2) applies.




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